
5 N.Y.2d 987 (1959)
In the Matter of the Arbitration between Iino Shipbuilding &amp; Engineering Co., Ltd., Appellant, and Hellenic Lines Limited, Respondent.
Court of Appeals of the State of New York.
Submitted November 13, 1958.
Decided March 5, 1959.
George Yamaoka, Helen F. Tuohy and Francis P. Kelly for appellant.
Wharton Poor and R. Glenn Bauer for respondent.
Concur: Chief Judge CONWAY and Judges DESMOND, DYE, FULD, FROESSEL, VAN VOORHIS and BURKE.
Order affirmed, without costs; no opinion.
